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                                                                                1   COLLINSON, DAEHNKE, INLOW & GRECO
                                                                                2
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                                                                                5   Facsimile: (424) 212-7757
                                                                                6
                                                                                    Attorneys for Defendants
                                                                                7   COUNTY OF LOS ANGELES (for itself and sued as LOS ANGELES
                                                                                    SHERIFF’S DEPARTMENT), DEPUTY E. CHINARIAN, and DEPUTY D.
                                                                                8   GALVEZ
                                                                                9
                                                                                                         UNITED STATES DISTRICT COURT
                                                                               10

                                                                               11             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                               12   RICARDO SILVA,                             CASE NO. 20-CV-08756-DSF (MAAx)
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                                     21515 HAWTHORNE BLVD., SUITE 800




                                                                                                 Plaintiff,                    Action Filed: September 23, 2020
                                        TORRANCE, CALIFORNIA 90503




                                                                               13

                                                                               14               v.
                                                                                                                               [PROPOSED] STIPULATED
                                                                               15   COUNTY OF LOS ANGELES, A
                                                                                    GOVERNMENTAL ENTITY; LOS                   PROTECTIVE ORDER
                                                                               16   ANGELES COUNTY SHERIFF’S
                                                                                    DEPARTMENT, A
                                                                               17   GOVERNMENTAL ENTITY;
                                                                                    DEPUTY E. CHINARIAN (#497736);
                                                                               18   DEPUTY D. GALVEZ (#611166); and
                                                                                    DOES 1 through 10,
                                                                               19
                                                                                                  Defendants.
                                                                               20
                                                                                    1.    PURPOSES AND LIMITATIONS
                                                                               21
                                                                                          Discovery in this action is likely to involve production of confidential,
                                                                               22
                                                                                    proprietary, or private information for which special protection from public
                                                                               23
                                                                                    disclosure and from use for any purpose other than prosecuting this litigation may
                                                                               24
                                                                                    be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
                                                                               25
                                                                                    enter the following Stipulated Protective Order. The parties acknowledge that this
                                                                               26
                                                                                    Order does not confer blanket protections on all disclosures or responses to
                                                                               27
                                                                                    discovery and that the protection it affords from public disclosure and use extends
                                                                               28
                                                                                    ______________________________________________________________________________
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                                                                                1   only to the limited information or items that are entitled to confidential treatment
                                                                                2   under the applicable legal principles. The parties further acknowledge, as set forth
                                                                                3   in Section 13.3, below, that this Stipulated Protective Order does not entitle them
                                                                                4   to file confidential information under seal; Civil Local Rule 79-5 sets forth the
                                                                                5   procedures that must be followed and the standards that will be applied when a
                                                                                6   party seeks permission from the court to file material under seal. Discovery in this
                                                                                7   action is likely to involve production of confidential, proprietary, or private
                                                                                8   information for which special protection from public disclosure and from use for
                                                                                9   any purpose other than prosecuting this litigation may be warranted.
                                                                               10   2.GOOD CAUSE STATEMENT
                                                                               11         Good cause exists for entry of this order.        As Plaintiff is seeking and
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                                                                               12   Defendants may produce, among other things, internal, security sensitive, third
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                                        TORRANCE, CALIFORNIA 90503




                                                                               13   party and law enforcement private and confidential information, administrative and
                                                                               14   institutional documents, which contain sensitive information that the County of
                                                                               15   Los Angeles believes need special protection from public disclosure.
                                                                               16         The documents identified in this Protective Order, which Defendants believe
                                                                               17   in good faith constitute or embody confidential information which the County of
                                                                               18   Los Angeles maintains as strictly confidential and are otherwise generally
                                                                               19   unavailable to the public, or which may be privileged or otherwise protected from
                                                                               20   disclosure under state or federal statutes, court rules, case decisions, or common
                                                                               21   law, are therefore entitled to heightened protection from disclosure. Accordingly,
                                                                               22   to expedite the flow of information, to facilitate the prompt resolution of disputes
                                                                               23   over confidentiality of discovery materials, to adequately protect information the
                                                                               24   parties are entitled to keep confidential, to ensure that the parties are permitted
                                                                               25   reasonable necessary uses of such material in preparation for and in the conduct of
                                                                               26   trial, to address their handling at the end of the litigation, and serve the ends of
                                                                               27   justice, a protective order for such information is justified in this matter. It is the
                                                                               28
                                                                                    ______________________________________________________________________________
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                                                                                                          [PROPOSED] STIPULATED PROTECTIVE ORDER
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                                                                                1   intent of the parties that information will not be designated as confidential for
                                                                                2   tactical reasons and that nothing be so designated without a good faith belief that it
                                                                                3   has been maintained in a confidential, non-public manner, and there is good cause
                                                                                4   why it should not be part of the public record of this case.
                                                                                5   3..   DEFINITIONS
                                                                                6         3.1    Action: This pending federal lawsuit.
                                                                                7         3.2    Challenging Party: A Party or Non-Party that challenges the
                                                                                8   designation of information or items under this Order.
                                                                                9         3.3    “CONFIDENTIAL” Information or Items: information (regardless of
                                                                               10   how it is generated, stored or maintained) or tangible things that qualify for
                                                                               11   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
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                                                                               12   the Good Cause Statement.
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                                                                               13         3.4    Counsel: Outside Counsel of Record and House Counsel (as well as
                                                                               14   their support staff), including Plaintiff Pro Per.
                                                                               15         3.5    Designating Party: A Party or Non-Party that designates information
                                                                               16   or items that it produces in disclosures or in responses to discovery as
                                                                               17   “CONFIDENTIAL.”
                                                                               18         3.6    Disclosure or Discovery Material: all items or information, regardless
                                                                               19   of the medium or manner in which it is generated, stored, or maintained (including,
                                                                               20   among other things, testimony, transcripts, and tangible things), that are produced
                                                                               21   or generated in disclosures or responses to discovery in this matter.
                                                                               22         3.7    Expert: a person with specialized knowledge or experience in a matter
                                                                               23   pertinent to the litigation who has been retained by a Party or its counsel to serve
                                                                               24   as an expert witness or as a consultant in this Action.
                                                                               25         3.8    House Counsel: attorneys who are employees of a party to this Action.
                                                                               26   House Counsel does not include Outside Counsel of Record or any other outside
                                                                               27   counsel.
                                                                               28
                                                                                    ______________________________________________________________________________
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                                                                                1         3.9    Non-Party: any natural person, partnership, corporation, association,
                                                                                2   or other legal entity not named as a Party to this action.
                                                                                3         3.10 Outside Counsel of Record: attorneys who are not employees of a
                                                                                4   party to this Action but are retained to represent or advise a party to this Action
                                                                                5   and have appeared in this Action on behalf of that party or are affiliated with a law
                                                                                6   firm which has appeared on behalf of that party and includes support staff.
                                                                                7         3.11 Party: any party to this Action, including all of its officers, directors,
                                                                                8   board, departments, divisions, employees, consultants, retained experts, and
                                                                                9   Outside Counsel of Record (and their support staff).
                                                                               10         3.12 Producing Party: A Party or Non-Party that produces Disclosure or
                                                                               11   Discovery Material in this Action.
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                                                                               12         3.13 Professional Vendors: persons or entities that provide litigation
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                                                                               13   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
                                                                               14   demonstrations, and organizing, storing, or retrieving data in any form or medium)
                                                                               15   and their employees and subcontractors.
                                                                               16         3.14 Protected Material: any Disclosure or Discovery Material that is
                                                                               17   designated as “CONFIDENTIAL.”
                                                                               18         3.15 Receiving Party: A Party that receives Disclosure or Discovery
                                                                               19   Material from a Producing Party.
                                                                               20   4.    SCOPE
                                                                               21         The protections conferred by this Stipulation and Order cover not only
                                                                               22   Protected Material (as defined above), but also (1) any information copied or
                                                                               23   extracted from Protected Material; (2) all copies, excerpts, summaries, or
                                                                               24   compilations of Protected Material; and (3) any testimony, conversations, or
                                                                               25   presentations by Parties or their Counsel that might reveal Protected Material.
                                                                               26         Any use of Protected Material at trial shall be governed by the orders of the
                                                                               27   trial judge. This Order does not govern the use of Protected Material at trial.
                                                                               28
                                                                                    ______________________________________________________________________________
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                                                                                1   5.    DURATION
                                                                                2         Once a case proceeds to trial, all of the information that was designated as
                                                                                3   confidential or maintained pursuant to this Stipulated Protective Order becomes
                                                                                4   public and presumptively will be available to all members of the public, including
                                                                                5   the press, unless compelling reasons supported by specific factual findings to
                                                                                6   proceed otherwise are made to the trial judge in advance of the trial.            See
                                                                                7   Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1180-81 (9th Cir.
                                                                                8   2006) (distinguishing “good cause” showing for sealing documents produced in
                                                                                9   discovery from “compelling reasons” standard when merits-related documents are
                                                                               10   part of court record). Accordingly, the terms of this Stipulated Protective Order do
                                                                               11   not extend beyond the commencement of the trial.
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                                                                               12   6.    DESIGNATING PROTECTED MATERIAL
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                                                                               13         6.1    Exercise of Restraint and Care in Designating Material for Protection.
                                                                               14         Each Party or Non-Party that designates information or items for protection
                                                                               15   under this Order must take care to limit any such designation to specific material
                                                                               16   that qualifies under the appropriate standards. The Designating Party must
                                                                               17   designate for protection only those parts of material, documents, items, or oral or
                                                                               18   written communications that qualify so that other portions of the material,
                                                                               19   documents, items, or communications for which protection is not warranted are not
                                                                               20   swept unjustifiably within the ambit of this Order.
                                                                               21          Mass,    indiscriminate,   or   routinized     designations   are   prohibited.
                                                                               22   Designations that are shown to be clearly unjustified or that have been made for an
                                                                               23   improper purpose (e.g., to unnecessarily encumber the case development process
                                                                               24   or to impose unnecessary expenses and burdens on other parties) may expose the
                                                                               25   Designating Party to sanctions.
                                                                               26         6.2    Manner and Timing of Designations. Except as otherwise provided in
                                                                               27   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
                                                                               28
                                                                                    ______________________________________________________________________________
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                                                                                                          [PROPOSED] STIPULATED PROTECTIVE ORDER
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                                                                                1   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                                                                                2   under this Order must be clearly so designated before the material is disclosed or
                                                                                3   produced.
                                                                                4         Designation in conformity with this Order requires:
                                                                                5         (a)    for information in documentary form (e.g., paper or electronic
                                                                                6   documents, but excluding transcripts of depositions or other pretrial or trial
                                                                                7   proceedings), that the Producing Party affix at a minimum, the legend
                                                                                8   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
                                                                                9   contains protected material. The legend must not obstruct a Party’s ability to view
                                                                               10   the contents of that document. If only a portion or portions of the material on a
                                                                               11   page qualifies for protection, the Producing Party also must clearly identify the
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                                                                               12   protected portion(s) (e.g., by making appropriate markings in the margins).
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                                                                               13         A Party or Non-Party that makes original documents available for inspection
                                                                               14   need not designate them for protection until after the inspecting Party has indicated
                                                                               15   which documents it would like copied and produced. During the inspection and
                                                                               16   before the designation, all of the material made available for inspection shall be
                                                                               17   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
                                                                               18   documents it wants copied and produced, the Producing Party must determine
                                                                               19   which documents, or portions thereof, qualify for protection under this Order.
                                                                               20   Then, before producing the specified documents, the Producing Party must affix
                                                                               21   the “CONFIDENTIAL legend” to each page that contains Protected Material. If
                                                                               22   only a portion or portions of the material on a page qualifies for protection, the
                                                                               23   Producing Party also must clearly identify the protected portion(s) (e.g., by making
                                                                               24   appropriate markings in the margins).
                                                                               25         (b)    for testimony given in depositions that the Designating Party identify
                                                                               26   the Disclosure or Discovery Material on the record, before the close of the
                                                                               27   deposition all protected testimony.
                                                                               28
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                                                                                1         (c)      for information produced in some form other than documentary and
                                                                                2   for any other tangible items, that, at a minimum, the Producing Party affix in a
                                                                                3   prominent place on the exterior of the container or containers in which the
                                                                                4   information is stored the legend “CONFIDENTIAL.” If only a portion or portions
                                                                                5   of the information warrants protection, the Producing Party, to the extent
                                                                                6   practicable, shall identify the protected portion(s).
                                                                                7         6.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent
                                                                                8   failure to designate qualified information or items does not, standing alone, waive
                                                                                9   the Designating Party’s right to secure protection under this Order for such
                                                                               10   material. Upon timely correction of a designation, the Receiving Party must make
                                                                               11   reasonable efforts to assure that the material is treated in accordance with the
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                                                                               12   provisions of this Order.
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                                                                               13         6.4      Privilege Logs. If a party withholds information that is responsive to
                                                                               14   a discovery request by claiming that it is privileged or otherwise protected from
                                                                               15   discovery, that party shall promptly prepare and provide a privilege log that is
                                                                               16   sufficiently detailed and informative for the opposing party to assess whether a
                                                                               17   document's designation as privileged is justified. See Fed.R.Civ.P. 26(b)(5). The
                                                                               18   privilege log shall set forth the privilege relied upon and specify separately for
                                                                               19   each document or for each category of similarly situated documents:
                                                                               20               (a) the title and description of the document, including number of pages
                                                                               21                     or Bates- number range;
                                                                               22               (b) the subject matter addressed in the document;
                                                                               23               (c) the identity and position of its author(s);
                                                                               24               (d) the identity and position of all addressees and recipients;
                                                                               25               (e) the date the document was prepared and, if different, the date(s) on
                                                                               26                     which it was sent to or shared with persons other than its author(s);
                                                                               27                     and
                                                                               28               (f) the specific basis for the claim that the document is privileged and
                                                                                    ______________________________________________________________________________
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                                                                                1                    protected.
                                                                                2          Communications involving counsel that post-date the filing of the complaint
                                                                                3   need not be placed on a privilege log
                                                                                4   7.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                                                                5          7.1    Timing of Challenges. Any Party or Non-Party may challenge a
                                                                                6   designation of confidentiality at any time that is consistent with the Court’s
                                                                                7   Scheduling Order.
                                                                                8

                                                                                9          7.2    Meet and Confer. The Challenging Party shall initiate the dispute
                                                                               10   resolution process under Local Rule 37.1 et seq. and with Section 4 of Judge
                                                                               11   Audero’s Procedures (“Mandatory Telephonic Conference for Discovery
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                                                                               12   Dispute”). Failing informal resolution between parties, the Challenging Party shall
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                                                                               13   follow Section 4 of Judge Audero’s Procedures (“Mandatory Telephonic
                                                                               14   Conference for Discovery Disputes”). 1
                                                                               15          7.3    Burden of Persuasion. The burden of persuasion in any such challenge
                                                                               16   proceeding shall be on the Designating Party. Frivolous challenges, and those
                                                                               17   made for an improper purpose (e.g., to harass or impose unnecessary expenses and
                                                                               18   burdens on other parties) may expose the Challenging Party to sanctions. Unless
                                                                               19   the Designating Party has waived or withdrawn the confidentiality designation, all
                                                                               20   parties shall continue to afford the material in question the level of protection to
                                                                               21   which it is entitled under the Producing Party’s designation until the Court rules on
                                                                               22   the challenge.
                                                                               23   8.     ACCESS TO AND USE OF PROTECTED MATERIAL
                                                                               24          8.1    Basic Principles. A Receiving Party may use Protected Material that is
                                                                               25   disclosed or produced by another Party or by a Non-Party in connection with this
                                                                               26   Action only for prosecuting, defending, or attempting to settle this Action. Such
                                                                               27          1
                                                                                            Judge Audero’s Procedures are available at https://www.cacd.uscourts.gov/honorable-
                                                                               28   maria-audero.
                                                                                    ______________________________________________________________________________
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                                                                                1   Protected Material may be disclosed only to the categories of persons and under
                                                                                2   the conditions described in this Order. When the Action reaches a final disposition,
                                                                                3   a Receiving Party must comply with the provisions of section 13 below (FINAL
                                                                                4   DISPOSITION).
                                                                                5         Protected Material must be stored and maintained by a Receiving Party at a
                                                                                6   location and in a secure manner that ensures that access is limited to the persons
                                                                                7   authorized under this Stipulated Protective Order.
                                                                                8         8.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
                                                                                9   otherwise ordered by the court or permitted in writing by the Designating Party, a
                                                                               10   Receiving    Party    may     disclose    any   information   or   item   designated
                                                                               11   “CONFIDENTIAL” only to:
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                                                                               12         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
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                                                                               13   as employees of said Outside Counsel of Record to whom it is reasonably
                                                                               14   necessary to disclose the information for this Action;
                                                                               15         (b) the officers, directors, and employees (including House Counsel) of the
                                                                               16   Receiving Party to whom disclosure is reasonably necessary for this Action;
                                                                               17         (c) Experts (as defined in this Order) of the Receiving Party to whom
                                                                               18   disclosure is reasonably necessary for this Action and who have signed the
                                                                               19   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                                               20         (d) the court and its personnel;
                                                                               21          (e) court reporters and their staff;
                                                                               22         (f) professional jury or trial consultants, mock jurors, and Professional
                                                                               23   Vendors to whom disclosure is reasonably necessary for this Action and who have
                                                                               24   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                                               25         (g) the author or recipient of a document containing the information or a
                                                                               26   custodian or other person who otherwise possessed or knew the information;
                                                                               27

                                                                               28
                                                                                    ______________________________________________________________________________
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                                                                                1         (h) during their depositions, witnesses, and attorneys for witnesses, in the
                                                                                2   Action to whom disclosure is reasonably necessary provided: (1) the deposing
                                                                                3   party requests that the witness sign the “Acknowledgment and Agreement to Be
                                                                                4   Bound” form attached as Exhibit A hereto; and (2) the witness will not be
                                                                                5   permitted to    keep any confidential information unless they               sign the
                                                                                6   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
                                                                                7   agreed by the Designating Party or ordered by the court. Pages of transcribed
                                                                                8   deposition testimony or exhibits to depositions that reveal Protected Material may
                                                                                9   be separately bound by the court reporter and may not be disclosed to anyone
                                                                               10   except as permitted under this Stipulated Protective Order; and
                                                                               11   (i) any mediator or settlement officer, and their supporting personnel, mutually
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                                                                               12   agreed upon by any of the parties engaged in settlement discussions.                9.
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                                                                               13         PROTECTED          MATERIAL          SUBPOENAED             OR     ORDERED
                                                                               14   PRODUCED IN OTHER LITIGATION
                                                                               15         If a Party is served with a subpoena or a court order issued in other litigation
                                                                               16   that compels disclosure of any information or items designated in this Action as
                                                                               17   “CONFIDENTIAL,” that Party must:
                                                                               18         (a)    promptly notify in writing the Designating Party. Such notification
                                                                               19   shall include a copy of the subpoena or court order;
                                                                               20         (b)   promptly notify in writing the party who caused the subpoena or order
                                                                               21   to issues in the other litigation that some or all of the material covered by the
                                                                               22   subpoena or order is subject to this Protective Order. Such notification shall
                                                                               23   include a copy of this Stipulated Protective Order; and
                                                                               24         (c)   cooperate with respect to all reasonable procedures south to be
                                                                               25   pursued by the Designating Party whose Protected Material may be affected.
                                                                               26         If the Designating Party timely seeks a protective order, the Party served
                                                                               27   with the subpoena or court order shall not produce any information designated in
                                                                               28
                                                                                    ______________________________________________________________________________
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                                                                                1   this action as “CONFIDENTIAL” before a determination by the court from which
                                                                                2   the subpoena or order issued, unless the Party has obtained the Designating Party’s
                                                                                3   permission. The Designating Party shall bear the burden and expense of seeking
                                                                                4   protection in that court of its confidential material and nothing in these provisions
                                                                                5   should be construed as authorizing or encouraging a Receiving Party in this Action
                                                                                6   to disobey a lawful directive from another court.
                                                                                7   10.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                                                                                8   PRODUCED IN THIS LITIGATION
                                                                                9         10.1 Application.
                                                                               10                The terms of this Order are applicable to information produced by a
                                                                               11   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
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                                                                               12   produced by Non-Parties in connection with this litigation is protected by the
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                                                                               13   remedies and relief provided by this Order. Nothing in these provisions should be
                                                                               14   construed as prohibiting a Non-Party from seeking additional protections.
                                                                               15         10.2 Notification.
                                                                               16   In the event that a Party is required, by a valid discovery request, to
                                                                               17   produce a Non-Party’s confidential information in its possession, and the Party is
                                                                               18   subject to an agreement with the Non-Party not to produce the Non-Party’s
                                                                               19   confidential information, then the Party shall:
                                                                               20               (a)     promptly notify in writing the Requesting Party and the Non-
                                                                               21   Party that some or all of the information requested is subject to a confidentiality
                                                                               22   agreement with a Non-Party
                                                                               23               (b)     Promptly provide the Non-Party with a copy of the Stipulated
                                                                               24   Protective Order in this Action, the relevant discovery request(s), and a reasonably
                                                                               25   specific description of the information requested; and
                                                                               26                (c)    Make the information requested available for inspection by the
                                                                               27   Non-Party, if requested.
                                                                               28
                                                                                    ______________________________________________________________________________
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                                                                                1         10.3 Conditions of Production.
                                                                                2   If the Non-Party fails to seek a protective order from this court within 14 days of
                                                                                3   receiving the notice and accompanying information, the Receiving Party may
                                                                                4   produce the Non-Party’s confidential information responsive to the discovery
                                                                                5   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
                                                                                6   not produce any information in its possession or control that is subject to the
                                                                                7   confidentiality agreement with the Non-Party before a determination by the court.
                                                                                8   Absent a court order to the contrary, the Non-Party shall bear the burden and
                                                                                9   expense of seeking protection in this court of its Protected Material.
                                                                               10   11.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL.
                                                                               11         If a Receiving Party learns that, by inadvertence or otherwise, it has
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                                                                               12   disclosed Protected Material to any person or in any circumstance not authorized
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                                        TORRANCE, CALIFORNIA 90503




                                                                               13   under this Stipulated Protective Order, the Receiving Party must immediately (a)
                                                                               14   notify in writing the Designating Party of the unauthorized disclosures, (b) use its
                                                                               15   best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
                                                                               16   the person or persons to whom unauthorized disclosures were made of all the terms
                                                                               17   of this Order, and (d) request such person or persons to execute the
                                                                               18   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
                                                                               19   A.
                                                                               20   12.   INADVERTENT             PRODUCTION            OF       PRIVILEGED           OR
                                                                               21         OTHERWISE PROTECTED MATERIAL.
                                                                               22   When a Producing Party gives notice to Receiving Parties that certain inadvertently
                                                                               23   produced material is subject to a claim of privilege or other protection, the
                                                                               24   obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                                                                               25   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
                                                                               26   procedure may be established in an e-discovery order that provides for production
                                                                               27   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
                                                                               28
                                                                                    ______________________________________________________________________________
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                                                                                1   (e), insofar as the parties reach an agreement on the effect of disclosure of a
                                                                                2   communication or information covered by the attorney-client privilege or work
                                                                                3   product protection, the parties may incorporate their agreement in the stipulated
                                                                                4   protective order submitted to the court.
                                                                                5

                                                                                6   13.   MISCELLANEOUS
                                                                                7         13.1 Right to Further Relief. Nothing in this Order abridges the right of any
                                                                                8   person to seek its modification by the Court in the future.
                                                                                9         13.2 Right to Assert Other Objections. By stipulating to the entry of this
                                                                               10   Protective Order no Party waives any right it otherwise would have to object to
                                                                               11   disclosing or producing any information or item on any ground not addressed in
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                                                                               12   this Stipulated Protective Order. Similarly, no Party waives any right to object on
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                                                                               13   any ground to use in evidence of any of the material covered by this Protective
                                                                               14   Order.
                                                                               15         13.3 Filing Protected Material. A Party that seeks to file under seal any
                                                                               16   Protected Material must comply with Civil Local Rule 79-5. Protected Material
                                                                               17   may only be filed under seal pursuant to a court order authorizing the sealing of the
                                                                               18   specific Protected Material at issue. If a Party's request to file Protected Material
                                                                               19   under seal is denied by the court, then the Receiving Party may file the information
                                                                               20   in the public record unless otherwise instructed by the court.
                                                                               21   14.   FINAL DISPOSITION.
                                                                               22         After the final disposition of this Action (as defined in paragraph 4), within
                                                                               23   60 days of a written request by the Designating Party, each Receiving Party must
                                                                               24   return all Protected Material to the Producing Party or destroy such material. As
                                                                               25   used in this subdivision, “all Protected Material” includes all copies, abstracts,
                                                                               26   compilations, summaries, and any other format reproducing or capturing any of the
                                                                               27   Protected Material. Whether the Protected Material is returned or destroyed, the
                                                                               28
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                                                                                1   Receiving Party must submit a written certification to the Producing Party (and, if
                                                                                2   not the same person or entity, to the Designating Party) by the 60 day deadline that
                                                                                3   (1) identifies (by category, where appropriate) all the Protected Material that was
                                                                                4   returned or destroyed and (2) affirms that the Receiving Party has not retained any
                                                                                5   copies, abstracts, compilations, summaries or any other format reproducing or
                                                                                6   capturing any of the Protected Material. Notwithstanding this provision, Counsel
                                                                                7   are entitled to retain an archival copy of all pleadings, motion papers, trial,
                                                                                8   deposition, and hearing transcripts, legal memoranda, correspondence, deposition
                                                                                9   and trial exhibits, expert reports, attorney work product, and consultant and expert
                                                                               10   work product, even if such materials contain Protected Material. Any such archival
                                                                               11   copies that contain or constitute Protected Material remain subject to this
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                                                                               12   Protective Order as set forth in Section 5
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                                                                               13   15.   VIOLATION
                                                                               14    Any violation of this Order may be punished by any and all appropriate measures
                                                                               15     including, without limitation, contempt proceedings and/or monetary sanctions.
                                                                               16

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                                                                                1                                        EXHIBIT A
                                                                                2           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                                                                3   I, _____________________________ [print or type full name], of
                                                                                4
                                                                                    _________________ [print or type full address], declare under penalty of perjury
                                                                                5

                                                                                6   that I have read in its entirety and understand the Stipulated Protective Order that

                                                                                7   was issued by the United States District Court for the Central District of California
                                                                                8
                                                                                    on ___________ in the case of Ricardo Silva v. County of Los Angeles, et al.,
                                                                                9

                                                                               10   Case No. 2:20-cv-08756-DSF (MAAx).

                                                                               11          I agree to comply with and to be bound by all the terms of this Stipulated
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                                                                               12   Protective Order and I understand and acknowledge that failure to so comply could
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                                        TORRANCE, CALIFORNIA 90503




                                                                               13   expose me to sanctions and punishment in the nature of contempt. I solemnly
                                                                               14   promise that I will not disclose in any manner any information or item that is
                                                                               15   subject to this Stipulated Protective Order to any person or entity except in strict
                                                                               16   compliance with the provisions of this Order.
                                                                               17         I further agree to submit to the jurisdiction of the United States District
                                                                               18   Court for the Central District of California for the purpose of enforcing the terms
                                                                               19   of this Stipulated Protective Order, even if such enforcement proceedings occur
                                                                               20   after termination of this action.
                                                                               21         I hereby appoint __________________________ [print or type full name] of
                                                                               22   _______________________________________ [print or type full address and
                                                                               23   telephone number] as my California agent for service of process in connection with
                                                                               24   this action or any proceedings related to enforcement of this Order.
                                                                               25         Date: ______________________________________
                                                                               26         City and State where sworn and signed:
                                                                               27   _________________________________
                                                                               28         Printed name and signature: _______________________________
                                                                                    ______________________________________________________________________________
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                                                                                          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                                                                                3
                                                                                    DATED: December 21, ___, 2020       FILER PALMER, LLP
                                                                                4

                                                                                5                                 /s/ Justin A. Palmer
                                                                                                                  JUSTIN A. PALMER
                                                                                6                                        Attorney for Plaintiff,
                                                                                7                                 RICARDO SILVA

                                                                                8   DATED: December 21, ___, 2020       COLLINSON, DAEHNKE, INLOW &
                                                                                9   GRECO

                                                                               10                                 /s/ Lenore C. Kelly
                                                                               11                                  LENORE C. KELLY
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                                                  Attorneys for Defendants,
                                                                               12                                 COUNTY OF LOS ANGELES, DEPUTY E.
                                    TEL. (424) 212-7777 | FAX (424) 212-7757
                                     21515 HAWTHORNE BLVD., SUITE 800




                                                                                                                  CHINARIAN, and DEPUTY D. GALVEZ
                                        TORRANCE, CALIFORNIA 90503




                                                                               13

                                                                               14
                                                                                    FOR GOOD CAUSE
                                                                                                SE SHOWN, IT IS SO ORDERED.
                                                                                                                   ORDERE
                                                                               15

                                                                               16            01/25/21
                                                                                                    1_______________________
                                                                                    DATED: _____________________________
                                                                               17
                                                                                    _____________________________________
                                                                                                       _________________________
                                                                               18   Hon. Maria A. Auderoeroo
                                                                                    United States District   Magistrate
                                                                                                        ct / Magistrate Judge
                                                                               19

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